Case 5:16-cv-13666-.]CO-I\/|K|\/| ECF No. 9 filed 02/09/17 Page|D.Zl Page 1 of 2
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
Scott Rosenberg, :
. : CivilAction No.: 5 :16-cV-13666-JCO-
Plaintiff, : MKM
v. :

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Defendant. f CLEHK.S OFF`CE

.S. DlSTH|CT COURT
u ANN AFlBOFi. M|

Ally Financial, Inc.,

 

STIPULATION OF DISMISSAL
WHEREAS, the parties to the above-entitled action have fesolved the issues
alleged in the complaint in this action, and have negotiated in good faith for that
purpose; and
WHEREAS, none of th`e parties to the above-captioned action is an infant or
incompetent person; and
WHEREAS, the parties in the above-captioned action wish to discontinue
the litigation;
IT IS HER_EBY STIPULATED AND AGREED by and between the parties
v and/or their respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii),
the above-captioned action is hereby dismissed in its entirety with prejudice and
without costs to any party. The Court will retain jurisdiction to enforce the terms of

the settlement agreement

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Scott Rosenberg Ally Financial, Inc.
/s/ Ser£'ei Lember£ l /s/ Ariana D. Pelle£rino

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Att neysfor Plaintiff Attorneysfor Defendant

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§ C{SO ORDERED.;
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